        Case 9:17-cr-00009-DLC Document 90 Filed 07/07/17 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 17–09–M–DLC–2

                      Plaintiff,
                                                              ORDER
        vs.

 IRVING HERNANDEZ-LOPEZ,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on June 21, 2017. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Irving Hernandez-Lopez’s

guilty plea after Hernandez-Lopez appeared before him pursuant to Federal Rule

of Criminal Procedure 11, and entered a plea of guilty to one count of conspiracy

                                           1
        Case 9:17-cr-00009-DLC Document 90 Filed 07/07/17 Page 2 of 2



to distribute methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), as set forth

in Count III of the Indictment. Defendant also agrees to the forfeiture allegation in

the Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts I and X of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

77), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Irving Hernandez-Lopez’s motion to

change plea (Doc. 52) is GRANTED and Irving Hernandez-Lopez is adjudged

guilty as charged in Count III of the Indictment.

      DATED this 7th day of July, 2017.




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